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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

WILLIE RODRIGUEZ,

                     Plaintiff,
        v.                                                       9:18-CV-1380

M. GOINS,

                Defendant.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                   DECISION and ORDER

I.      INTRODUCTION

        This pro se action brought pursuant to 42 U.S.C. § 1983 was referred to the Hon.

Daniel J. Stewart, United States Magistrate Judge, for a Report and Recommendation

pursuant to 28 U.S.C. § 636(b) and Local Rule 72.3(c). Plaintif f alleges that Defendant

Goins, a corrections officer at the Ulster County Law Enforcement Center, violated his

constitutional rights by failing to intervene and protect him from a physical assault by a

fellow inmate. Defendant Goins moves for summary judgment on the bases that (1)

Plaintiff’s claim fails as a matter of law; and (2) Defendant Goins is entitled to qualified

immunity. Dkt. No. 23. In his August 17, 2020 Report-Recommendation and Order (Dkt.

No. 34), Magistrate Judge Stewart recommends that Defendant Goins’s motion for

summary judgment be granted on both bases. No objections to the Report-

Recommendation and Order have been filed, and the time to do so has expired.

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II.      DISCUSSION

         After examining the record, this Court has determined that the Report-

Recommendation and Order is not subject to attack f or plain error or manifest injustice.

III.     CONCLUSION

         Accordingly, the Court ACCEPTS and ADOPTS the Report-Recommendation and

Order (Dkt. No. 34) for the reasons stated therein. Defendant Goins’s motion for summary

judgment (Dkt. No. 23) is GRANTED and the claim against him is DISMISSED.

         Defendant Goins’s letter-motion asking the Court to accept the Report-

Recommendation and Order (Dkt. No. 35) is DENIED as moot.

         The Clerk of the Court may close the file in this matter.

IT IS SO ORDERED.

Dated:October 20, 2020




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